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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                    :

       v.                                   :     No. 2:20-cr-00045-01-GAM

ABDUR RAHIM ISLAM et al.,                   :       (McHugh, J.)

            Defendants.                     :


                               [PROPOSED] ORDER


       AND NOW, this _________ day of ___________________, 2022, upon

consideration of the Government’s Motion In Limine for Admission of Rule 404(b) Evidence

(Doc. 130), and any response in opposition, it is ORDERED that the Motion is DENIED.



                                                 BY THE COURT:


                                                 ______________________________
                                                 Honorable Gerald Austin McHugh
                                                 U.S. District Court Judge
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             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :

       v.                                  :      No. 2:20-cr-00045-01-GAM

ABDUR RAHIM ISLAM et al.,                  :        (McHugh, J.)

            Defendants.                    :


DEFENDANT ISLAM’S RESPONSE IN OPPOSITION TO GOVERNMENT’S
  MOTION IN LIMINE FOR ADMISSION OF RULE 404(b) EVIDENCE

       Defendant Abdur Rhaim Islam opposes the government’s Motion in Limine

under Fed.R.Evid. 404(b). Doc. 130.

       On January 29, 2021, this Court granted the motion of defendants Johnson and

Chavous to sever Counts 9 and 10. Doc. 77. On October 14, 2021, the Court

elaborated on and implemented that Order by scheduling a bifurcated trial. Doc. 109.

Under this plan, all defendants would first be tried on Counts 9 and 10, alleging two

instances of wire fraud for the purpose of executing a scheme to defraud “the citizens

of Philadelphia of their right to the honest services” of Councilman Johnson, through

bribery relating to the zoning of two properties. 18 U.S.C. §§ 1343, 1346. Following

the jury’s deliberations on those counts, the trial would resume, with defendants Islam

and Dawan alone facing all remaining counts, including the typically wide-ranging

RICO conspiracy charge set forth under Count One. In its recent order on the

government’s motion to continue the trial, the Court rejected certain alternative

suggestions by some of the defendants, and instead reaffirmed the plan for a two-

phase (bifurcated) trial. Doc. 148.
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       The government now seeks, by the device of a motion in limine, Doc. 130, to

defeat the objectives and advantages of the Court’s severance plan. The prosecutors’

motion seeks pretrial approval for the admission at the first-phase trial (limited to

Counts Nine and Ten) of substantial evidence of the Count One RICO conspiracy, in

the nature of alleged fraud and embezzlement committed by defendants Islam and

Dawan against Universal Companies.1 The result of granting the government’s

motion would be a trial on Counts Nine and Ten that would take much longer to

complete. (The government concedes this in its pretrial motions. See Doc. 132, at 2

[¶8] (estimating that the two-count Phase One trial, as they envision it, would last

more than three weeks, while the RICO-based, 20-count Phase Two trial would last

only “several additional days”)). The government’s suggestion would require limiting

instructions that the Court would then have to reverse at the Second Phase trial (where

the same evidence, if admitted, would be directly relevant). And it would be much

less narrowly focused on those particular counts than this Court intended. In short, to

grant the government’s motion would be to undermine if not utterly defeat the

objectives of the severance. The motion is also inconsistent with a fair and proper

application of the Rules of Evidence. For all these reasons, the government’s motion

should therefore be denied.

       The principal rationales for the severance of Counts Nine and Ten were to

protect co-defendants Johnson and Chavous from unfair prejudice and from the

burden and expense of sitting through a lengthy trial principally addressing matters


1
 In light of the government’s instant motion, defendant Islam withdraws the portion of
his own in limine motion (Doc. 124, at ECF pp. 2–4) that claims a lack of proper notice
under Rule 404(b)(3).


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not involving themselves. But the severance incidentally (and quite properly) also

benefits defendants Islam and Dawan by ensuring that their trial on Counts Nine and

Ten will also be more fair, by keeping the jury focused on the particular charges in

those counts. Accordingly, Mr. Islam opposes the government’s motion in limine and

asks that this Court exercise its considerable discretion over both trial management

and matters of evidence, see United States v. Kemp, 500 F.3d 257, 295 (3d Cir. 2007)

(substantial district court discretion under Rules 403 and 404(b)); United States v.

Bethancourt, 65 F.3d 1074, 1079 (3d Cir. 1995), by denying the motion in all

respects.

       The incorporation by reference into Counts Nine and Ten of substantial

portions of the Count One allegations (see Doc. 130, at 4–7) reveals the government’s

theory of relevancy of that information, as reiterated in its present motion. But the

definition of relevant evidence under Rules 401–402 is expansive. Evidence that is

not “relevant” in that sense is not admissible at all. But not all evidence that is

relevant is ipso facto to be allowed. It is thus telling that the government’s motion in

limine is framed as seeking admission of evidence “under either Rule 402 or Rule

404(b).” To claim that evidence is “admissible under Rule 402” (see also Doc. 130, at

15–16) is simply to say it is not inadmissible, see Fed.R.Evid. 402, a proposition that

obviously does not get the proponent very far. The government’s motion really stands

or falls on this Court’s application and enforcement of Evidence Rules 403 and

404(b), not Rule 402.

       The government would have this Court apply Rule 404(b) in a manner that

defeats the Third Circuit’s landmark decision in United States v. Green, 617 F.3d 233,

239–49 (3d Cir. 2004). In that case, the Court rejected use of the broadly defined “res

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gestae” concept for identifying evidence that falls outside Rule 404(b)’s “other acts”

category. The Court of Appeals instead held that a proper 404(b) purpose must be

identified for any evidence that is not “intrinsic” to the specific charges in the

indictment. For these purposes, the Court narrowly defined “intrinsic” to include only

evidence that “directly proves” a charge in the indictment or that concerns actions that

were “performed contemporaneously with the charged crime [and] facilitate[d] the

commission of the charged crime.” Id. 249. All other evidence is categorized as

“extrinsic” and thus subject to analysis under Rule 404(b)’s test for “other acts.”

       The government seeks to have this Court declare as “intrinsic” evidence a vast

swath of evidence that does not “directly” prove the charges in Counts Nine and Ten.

That evidence, as their motion admits, goes principally (if not exclusively) to a

convoluted theory of “motive”2 and tangentially, at best, to “intent.” Doc. 130, at 9–

15. Such evidence, however, is not “intrinsic” under Green. The government’s

argument fails on the plain language of Rule 404(b)(2), which lists both “motive” and

“intent” as 404(b) purposes for allowing non-intrinsic evidence, as well as under the

specific holding of Green and its progeny. Thus, the only part of the government’s

motion that deserves close attention is the 404(b) discussion. Doc.130, at 17–24.3


2
  The government appears to postulate a theory that goes something like this: Universal
Companies served as a “gravy train” for defendants Islam and Dawan; Universal was in
financial trouble; Islam sought to save Universal by any means necessary, including
bribery of public officials; therefore, any and all evidence relating to Islam’s private
financial benefit from his position at Universal is “evidence” of his “motive” to bribe
Councilman Johnson.
3
 Of that discussion, pages 19–24 of the motion concern evidence admissible, if at all,
only against Councilman Johnson and Ms. Chavous. Mr. Islam therefore leaves it to those
defendants to address those points, other than to say that if allowed against his co-
defendants notwithstanding Rule 403, the “Eagles luxury box” evidence would have to be

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       On page 11 of their motion, the government quotes and endorses the Third

Circuit Model Jury instruction that states, in part, “Motive is not an element of the

offense with which the defendant is charged. Proof of bad motive is not required to

convict.” Six pages later, the same motion says that the prosecutors seek to admit

extrinsic evidence “of the fraud committed by Islam and Dawan” (Point B title) “to

prove the motive and intent of Islam and Dawan, which are essential elements of the

honest services mail fraud charges.” Doc. 130, at 17. It is the first of these

contradictory statements that is correct, not the second.        The evidence that the

government wants to offer against Mr. Islam – described in detail at pages 11–15 of

its motion – is all of the government’s Count One “evidence of Islam’s relationship

with Dawan and their ongoing criminality at the Universal Companies related to

enriching themselves,” id. at 11, that is, alleged misapplication of funds between

different arms of the Universal Companies, plus payment of excessive, non-existent

or purely personal expenses, advances, and per diems from corporate funds.4 This

evidence is plainly extrinsic, and thus subject to Rule 404(b) analysis, and then

admissible only if it survives Rule 403 scrutiny.

       Rule 404(b) is a rule of general exclusion. It thus reverses the general

presumption of admissibility. See United States v. Repak, 852 F.3d 230, 241 (3d Cir.

2017); United States v. Caldwell, 760 F.3d 267, 276 (3d Cir. 2014). Where the

evidence is not “intrinsic,” the government must satisfy a strict four-part test in its



accompanied by a strong limiting instruction under Rule 105 noting its total irrelevance
to any issue concerning the guilt or innocence of defendant Islam (or Dawan).
4
 This evidence constitutes basically the entirety of the government’s second-phase case,
but for the Milwaukee bribery story and the technical tax evidence.


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404(b), as set forth in Caldwell, 760 F.3d at 276–77, explaining United States v.

Sampson, 980 F.2d 883 (3d Cir. 1992). First, the proponent of the evidence must

identify a proper, “non-propensity purpose that is ‘at issue’ in the case.” 760 F.3d at

276.   Second, and separately, the proponent must “explain how the evidence is

relevant to that purpose… The task is not merely ‘to find a pigeonhole in which the

proof might fit,’ but to actually demonstrate that the evidence ‘prove[s] something

other than propensity.’” Id. (internal references omitted). In satisfying the second

requirement, “the government must explain how it fits into a chain of inferences - a

chain that connects the evidence to a proper purpose, no link of which is a forbidden

propensity inference.” Id. 276–77 (earlier sources of quotation omitted).

       If the proffer satisfies these criteria, the Court must still exclude the evidence

unless it is “(3) sufficiently probative under Rule 403 such that its probative value is

not outweighed by any inherent danger of unfair prejudice; and (4) accompanied by a

limiting instruction, if requested.” Id. 277–78.

       The government’s motion does not follow these steps, nor does it satisfy the

Third Circuit’s Rule 404(b) test in any event. Vague invocations of “the relationship

of the parties” and “background” or “completing the story” do not ordinarily satisfy

the Rule 404(b) criteria, as most recently elaborated by the Circuit. Cf. Doc. 130, at

18–19 (citing pre-Green, pre-Caldwell cases). The “relationship” of Islam and Dawan

will not be a controversial question at trial, given their longstanding working

relationship as fellow executives at Universal. “Motive” will likewise not be “at

issue” (within the meaning of Caldwell’s step 1) at the trial on Counts Nine and Ten.

It is undisputed that the official actions that these counts accuse Councilman Johnson

of taking were of significant benefit to Universal, giving the Companies and their

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officers a strong and evident – but by no means necessarily corrupt – motive to have

the City act favorably on the zoning and reversion issues.

      It is very much disputed, of course, that Johnson acted “corruptly” or that the

engagement of Ms. Chavous to provide professional services to Universal was really a

disguised bribe of her husband. But motive is not “at issue” in this case, much less a

convoluted and indirect theory of motive such as the government seeks to present.

That theory, which focuses on alleged embezzlement at Universal, is a perfect

example of the kind of evidence that fails the second Caldwell step, because the

“chain of inferences” on which the government relies focuses on Mr. Islam’s pattern

of alleged greed and dishonesty (allegedly knowingly facilitated by Dawan) and is

thus not free of reliance on a suggested propensity to commit fraud. While intent will

certainly be at issue at trial (especially the alleged mens rea of acting “corruptly” and

with “intent to defraud the citizens of Philadelphia”), the proffered extrinsic evidence

goes to the question of intent (an intent to defraud Universal Companies, in the 404(b)

conduct, not an intent to aid Universal by defrauding Philadelphia’s citizenry) insofar

as intent to prove motive, and on that score it falls short on both the first and second

prongs of the Caldwell test.

      Given the weak showing that the government makes on the first two prongs of

the test, which go to “probative value,” the Court should also hold under Rule 403

that the proffered extrinsic evidence of alleged fraud and embezzlement at Universal

would be substantially more unfairly prejudicial at the separate trial of Counts Nine

and Ten than it would be probative of those counts. The proposed extrinsic evidence




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would also be substantially more confusing than probative5 and any benefit would be

substantially outweighed by the resulting waste of time.6 See Fed.R.Evid. 403. The

government’s proposed 404(b) evidence reeks of an effort to prove bad character, and

in particular dishonesty, and thus to prejudice the jury unfairly against Mr. Islam on

these specific “honest services” charges that he engaged in bribery of a City

Councilman for his own and/or his employer’s benefit.
       For these reasons, defendant Islam prays that this Court deny the government’s

motion in limine seeking to admit at the first phase trial the bulk of the evidence it

intends to use to prove the RICO and tax charges at the second part of the trial.


                                                   Respectfully submitted,

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5
 In the government’s 404(b) story, Universal is the defendants’ victim; in the charges
under Counts Nine and Ten it is their co-perpetrator and beneficiary.
6
 As noted earlier, granting the government’s present motion – as the government admits
– would turn the severed, two-count phase of the trial into the tail that wags the twenty-
count dog, to the tune of many weeks.


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                              CERTIFICATE OF SERVICE
       I, Joshua Hill, hereby certify that on this day, I caused the foregoing to be filed

electronically with the Case Management/Electronic Case Filing System (“CM/ECF”) for the

Federal Judiciary. Notice of this filing will be sent to all parties by operation of the Notice of

Electronic Filing system, and the parties to this action may access this filing through

CM/ECF.


Dated: January 18, 2022                               /s/ Joshua Hill
                                                      Joshua Hill




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